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                            IN THE UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF ILLINOIS

    ANTONIO HUNTER, #M33269,                            )
                                                        )
                            Plaintiff,                  )
                                                        )
    v.                                                  )   Case No. 3:21-cv-00271-NJR
                                                        )
    ILLINOIS DEPARTMENT OF                              )
    CORRECTIONS, WEXFORD HEALTH                         )
    SOURCES, INC., STEVE MEEKS,                         )
    and STEPHEN RITZ,                                   )
                                                        )
                            Defendants.                 )


    DEFENDANTS DR. STEPHEN RITZ AND WEXFORD HEALTH SOURCES, INC.’S
                       RULE 26(a)(3) DISCLOSURES

           COMES NOW Defendants, Dr. Stephen Ritz and Wexford Health Sources, Inc., by and

  through their attorneys Sandberg Phoenix & von Gontard, P.C., and for their Rule 26(a)(3) pre-

  trial disclosures state as follows:

      A. Witnesses Defendants Expect To Call At Trial

          Dr. Stephen Ritz: c/o Sandberg Phoenix, 701 Market Street, Suite 600, St. Louis, MO
           63101. Dr. Ritz is a defendant in this matter. Dr. Ritz is capable of testifying regarding
           his clinical decision making, the utilization management process, his role in Plaintiff’s
           care and treatment in 2018 and 2019, Plaintiff’s allegations and Defendants’ defenses.

          Dr. Percy Myers: c/o Sandberg Phoenix, 701 Market Street, Suite 600, St. Louis, MO
           63101. Dr. Myers is capable of testifying regarding his care and treatment of Plaintiff as
           more fully reflected in Plaintiff’s medical records, his clinical decision making, the
           utilization management process, Plaintiff’s allegations and Defendants’ defenses.

          Dr. Glen Babich: c/o Sandberg Phoenix, 701 Market Street, Suite 600, St. Louis, MO
           63101. Dr. Babich is capable of testifying regarding Wexford Health Sources, Inc.’s
           contract with the Illinois Department of Corrections, the utilization management process,
           policies and procedures at Pinckneyville Correctional Center, the care and treatment of
           Plaintiff as more fully reflected in Plaintiff’s medical records, Plaintiff’s allegations and
           Defendant’s defenses.




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      B. Witnesses Defendants Will Call If The Need Arises

          Bobby Blum, NP: c/o Sandberg Phoenix, 701 Market Street, Suite 600, St. Louis, MO
           63101. Mr. Blum treated Plaintiff in 2018 and issued Plaintiff a low bunk permit. He is
           capable of testifying about his care and treatment of Plaintiff as more fully reflected in
           Plaintiff’s medical records, his clinical decision making, Plaintiff’s allegations and
           Defendants’ defenses.

          Antonio Hunter: c/o Loevy and Loevy, 311 N. Aberdeen 3rd Floor, Chicago, IL 60607.
           Mr. Hunter is the plaintiff in this matter. He is capable of testifying regarding his
           medical and mental health care as more fully reflected in his medical records.

          Dr. Steve Meeks: c/o Office of the Illinois Attorney General, 201 West Pointe Dr., Suite
           7, Swansea, IL 62226. Dr. Meeks is a defendant in this matter. He is capable of testifying
           regarding procedures within the Illinois Department of Corrections and Wexford Health
           Sources, Inc.’s contract with the Illinois Department of Corrections.

          Christine Brown, c/o Office of the Illinois Attorney General, 201 West Pointe Dr., Suite
           7, Swansea, IL 62226. Ms. Brown was the ADA Coordinator at Pinckneyville
           Correctional Center from approximately 2017 to 2022. She is capable of testifying about
           IDOC rules, policies, procedures, and ADA accommodations at Pinckneyville
           Correctional Center.

          Heather Davis, FNP: SIH Medical Group Colorectal Surgery, 305 W. Jackson St, Suite
           206, Carbondale, IL 62901. Ms. Davis evaluated Plaintiff on March 24, 2022, and is
           capable of testifying as to her treatment and assessments of Plaintiff.

          Sean Glasgow, M.D.: Washington University Medical Group, 1044 N. Mason Road, St.
           Louis, MO 63141. Dr. Glasgow assessed Plaintiff’s condition on May 12, 2022. He is
           capable of testifying regarding his assessment of Plaintiff and clinical decision making.

          Any witnesses disclosed by Plaintiff or Co-Defendants in their Rule 26(a)(3) Disclosures

      C. Witnesses Defendants Expect To Present By Deposition

          None

      D. Exhibits

          Exhibits Defendants Expect to Offer At Trial

                   Plaintiff’s medical records:

                    o      Problem List - Hunter 000003-000004
                    o      Offender Physical Examinations - Hunter 000009-000010


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                    o     Outpatient Progress Notes - Hunter 000024, 000029, 000054-000055,
                          000058-000059, 000065, 000097-000098, 000101 - 000103, 000106,
                          000113, 000114, 000120, 000123, 000125-000126, 000724, 001308,
                          001312-001313, 001315, 001318, (IDOC) 000722-000724, (IDOC)
                          000730, (IDOC) 000743-000744, (IDOC) 000767, (IDOC) 000775,
                          (IDOC) 000777-000779, (IDOC) 000791, (IDOC) 000797-000813,
                          (IDOC) 000883, (IDOC) 000885, (IDOC) 000887, (IDOC) 000899-
                          000902
                    o     Mental Health Records - Hunter 000407-000424
                    o     Lab Reports - Hunter 000267, 000269
                    o     Utilization Management Documents - Hunter 000156-000157
                    o     Offender Transfer Summary 000110
                    o     May 11, 2016 Memorandum - Hunter 000340-000341
                    o     Discharge Summary - Hunter 000343
                    o     Low Bunk Permit - Hunter 000357
                    o     Single Cell Permit - Hunter 000359
                    o     Crossroads Community Hospital - Hunter 000135-000144
                    o     Washington University - HUNTER-WU 001 - 004
                    o     Medical Record Authorization - Hunter 000362
                    o     Little Company of Mary Hospital Records - Hunter 000451-000456,
                          000481-000483, 000505-000510, 000562-000568
                    o     Southern Illinois University - HUNTER-SIU 001-016

                   Grievance Records

                    o     Hunter 000358
                    o     Hunter 000364
                    o     HUNTER-PNK (GR) 010-014
                    o     HUNTER-IDOC 014 & 021

                   Utilization Management Report - Hunter,A Wexford Doc. 0006

          Exhibits Defendants Will Offer If The Need Arises

                   Commissary Records - HUNTER-PNK (COM) 001-116

                   Counseling Records - HUNTER-PNK (CR) 001-016

           Defendants may introduce any other documents produced in discovery, any documents

  identified by Plaintiff or Co-Defendants as exhibits, and documents placed on the record by

  Plaintiff or Co-Defendants, and any affidavits by Plaintiff, Co-Defendants, or witnesses.




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                                                SANDBERG PHOENIX & von GONTARD P.C.


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                                                Attorneys for Defendants Wexford Health Sources,
                                                Inc. and Stephen Ritz, M.D.

                                       Certificate of Service

          I hereby certify that on the 3rd day of June, 2023, the foregoing was filed electronically
  with the Clerk of the Court to be served by operation of the Court’s electronic filing system upon
  the following:

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                                                 /s/ Dennis S. Harms




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